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FoR THE wEsTERN DISTRICT oF TENNESSE§$ JUL "| PH 12= 35
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UNITED sTATEs oF AMERICA, ) WU U*` »_“!“JP¢“#S
)
Plaintiff, )
)
vs. ) No. 02-20356 BV

WILLIAM HOLLAND,

Defendant.

 

ORDER AUTHORIZING APPOINTMENT OF CO-COUNSEL
AT GOVERNMENT EXPENSE

 

Before the court is the June 17, 2005 motion of the defendantl
Willian\Holland, requesting appointment of co-counsel at government
expense. The motion has been referred to the United States
Magistrate Judge for determination. For good cause shown, the
motion is granted.

The court finds that this case is complex and extremely
difficult. Pursuant to the Guidelines for the Administration of
the Criminal Justice Act, Chapter II, Part B, Section 2.11(B), the
best interest of justice require appointment of co-counsel in this
case. A separate CJA Form 20 will be entered appointing new
counsel.

IT IS SO ORDERED this 30th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 348 in
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Honorable J. Breen
US DISTRICT COURT

